                                   Case 1-18-44427-cec                                Doc 15                        Filed 10/10/18              Entered 10/10/18 13:04:00


        Fill   in this information to identify your                      case and this filing:

    YDGDYOF1                              Brian     Cohen

        Debtor 2
        (Spouse, arming)
                                                                                                                                                                              I




    l
        United States Bankruptcy Court for the:                          EASTERN DISTRICT OF NEW YORK

        Case number           .1.'1§Zé4égZ`1ggg..--7.-..,,,, - |-.                                                                                                                                      I
    ,
                                                                                    rlrr .     ,,,,,   .-..   ...,.   ..   ..   .                                                                               Check if this is an
    1

                                                                                                                                                                                                                amended filing



         Form 106A/B
    Official

    Schedule AIB: Property                                                                                                                                                                                                12/15
    lneach category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. lf two married people are Hling together, both are equally responsible for supplying correct
    information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

    mDescribe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
    1.       Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

·
             El No. Goto Pan 2.

             I Yes.   Where   is       the property?




        1.1                                                                                  What is the property? Check all that apply

                                                                                               I         $l¤9|€·f6ml|Y home                                Do not deduct secured claims or exemptions. Put
                Street address,   if   available, or other description                                                                                     the amount Of any Secured dajms On 3;;/ygdu/g D;
                                                                                                         D up EX Or mu |t._um.t b UI.Id.mg
                                                                                                                I                   I

                                                                                               El                                                          Creditors Who Have Claims Secured by Property.
                                                                                                         Condominium or cooperative
                                                                                               D
                                                                                               lj        Manufactured or mobile home
                                                                                                                                                          Current value of the                           Current value of the
                Oyster Bay                            NY        11771 -0000                    [j        Land                                             entire property?                               portion you    own?
                Civ                                   Stale          ZIP   me                  U         investment ¤r¤¤e¤v                               .....-....   .53 r959.r9.9.9;0.Q              -.2-...2 §52§».Q99i9Q.
                                                                                               D        T‘
                                                                                                          mesh are
                                                                                                                                                          Describe the nature of your ownership interest
                                                                                               D        Other                                             (such as fee simple, tenancy by the entireties, or
                                                                                             Who has an             interest in the property? Check one   a me estatglr 'f k"°‘”"-
                                                                                                                                                           Co-Owner with                           Lori Peskin-Cohen
                                                                                               D         Debtor 1 only                                     (Ex-Wife)
                Nassau                                                                         D        Debtor 2 only
                C°“"“V                                                                         D        Debtor1 and Debtor2 only                                                  _
                                                                                                                                                                       Check if this
                                                                                                                                                                                      _       _             _
                                                                                                                                                                                                   community property
                                                                                               I        At least one of the debtors and another
                                                                                                                                                           D           (see instructions)
                                                                                                                                                                                              is



                                                                                             Other information you wish to add about this item, such as local
                                                                                             property identification number:




        2.    Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
              pages you have attached for Part 1. Write that number here...........................................................................=>                                     I                     $525· OOO 00
                                                                                                                                                                                                   ______________         g;j_      l




    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. lf you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




    Official     Form 106A/B                                                                       Schedule A/B: Property                                                                                                    page     1


    Software Copyright (c) 1996-2018 Best Case, LLC —www.bestcase.com                                                                                                                                             Best Case Bankruptcy
                                           Case 1-18-44427-cec                      Doc 15                      Filed 10/10/18                 Entered 10/10/18 13:04:00

                          l
                                                                                    ....                                 ......                     Case number litkrel-nl        1-18-4442Z:ce¤
      3.    Cars, vans, trucks, tractors, sport                     utility   vehicles, motorcycles

           I]    No
           I Yes

                         M 3 kG           H0l‘\d8                                                                                                          Do
                                          ?»——————————                            Wh 0                   ·
           3.1                    1
                                                                                           l1   as an    m 1arest-mt h E property  ·?                         not deduct secured claims or exemptions. Put
                                                                                                                                        Check one
                                                                                                                                                           the amount of any secured claims on Schedule D:
                         Model:           CIVIEW   __»V>        M                 I Dgbtgr         1    only                                               Creditors Who Have Claims Secured by Property,
                         Year:
                                      _
                                                                                  D Debtor 2 O"'Y                                                         Current value of the          Current value of the
                         Approximate mileage:                       2,000         E] Doolor
                                                           nw                                      1    and Doolor 2 only                                 entire property?              portion you       own?
                         Oihéi i¤f¤rm¤li¤¤¤                                       El At    least one ofthe debtors          and another
                     §Leased
                                                                                  El Check if this             is   community property                                      $0-00                              $0-00
                     I



                                                                                      (see instructions)
                                                                                                                                                                           `wrnrw         WIYUW       A   In   my 7 W I


                 L




         3.2             M 8kG             Subaru                                 Wh O has an Interest In the property? Check me
                                                                                                        ·            ·
                                                                                                                                                          D0     not deduct secured claims or exemptions, Put
                                 3

                                          -»-»»»»»——----|——---»—                                                                                          the amount of any secured claims on Schedule D:
                         lvlodol;          Crosstek                               I Debtor         1    only                                              Creditors Who Have Claims Secured by Property.
                         Year:                                                    EI DEMO" 2 °"lY
                                                           ....s.,|--,_                                                                                   Current value of the          Current value of the
                         Approximate mileage:                                     I] Doolol 1 and Doolorg only                                            entire property?              portion you   own?
                         OUWEV infermetienr                                       D At     least one of the debtors and another

                 lLeased
                 l                                                                El Check         if   this is     community property                                      $0-00                              $0-00
                 t                                                                   (see instructions)




    4. Watercraft, aircraft,     motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
           Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories


           I No
           E] Yes




     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>                                                         $0-00


    E
                                                                                                                                                                              l




                          Describe Your Personal and Household items
     Do you own                       or have any legal or equitable interest in any of the following items?                                                                        Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.
    6.     Household goods and furnishings
           Examples: Major appliances, furniture,                       linens, china, kitchenware
,          I]    No
           I Yes.             Describe.....



                                                           Household goods and furnishings-bed, dresser &                                 living    room set                                       $1,500-00


    7.     Electronics
            Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                      including cell phones, cameras, media players, games
           [I    No
           I Yes.             Describe,....



                                                           Television   & computer                                                                                                                        $500.00


    8.   Collectibles of value
          Examples: Antiques and ngurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                    other collections, memorabilia, collectibles
           I No
           I] Yes, Describe.....

    Official         Form 106A/B                                                                Schedule A/B: Property                                                                                         page 2
    Software Copyright (c) 199G—2018 Best Case, LLC —www.l:>estcase.com                                                                                                                      Best Case Bankruptcy
                            Case 1-18-44427-cec                                    Doc 15                   Filed 10/10/18                  Entered 10/10/18 13:04:00

  Debtor      1                                                                                                                                    Case number (lfknown}
                     p§rta_np(@en_H_______p_p__ppppppp                                                     ,_p_pW|r|   ppp|_     _   __                                                   1-{18-44427-rcec


9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs,                                              skis;      canoes and kayaks; carpentry tools;
                        musical instruments
       I No
       I] Yes. Describe..,..

10.    Firearms
        Examples: Pistols,            rifles,       shotguns, ammunition, and related equipment
       I No
      I] Yes. Describe.,...

11.    Clothes
        Examples: Everyday clothes, furs, leather coats, designerwear, shoes, accessories
      E]   No
      I Yes.        Describe.,...



                                                    [Wearing apparel and personal effects                                                                          l                                              $1,000.00 _



12.    Jewelry
        Examples: Everyday jewelry, costumejewelry, engagement rings, wedding                                              rings,    heirloom jewelry, watches, gems, gold, silver
      El   No
      I Yes.        Describe.....



                                                                                                    ....




13.    Non—farm animals
       Examples: Dogs, cats,                    birds,   horses
      I No
      I] Yes, Describe.....

14.    Any      other personal and household items you did not already list, including any health aids you did not                                                      list

      I No
      I] Yes. Give specific information....,



 15.       Add the dollar value of all of your entries from                           Part 3, including any entries for pages you have attached                                       y




           for Part 3, Write that number here                                                                                                                                              _A__r_H_ _r_________




|e
 Do you own
                           Your Financial Assets
                      or have any legal or equitable interest in any of the following?                                                                                                        Current value of the
                                                                                                                                                                                              portion you         own?
                                                                                                                                                                                              Do    not deduct secured
                                          ,claims
                                                                                                                                                                                                         or exemptions.


16.    Cash
        Examples: Money you have                       in   your wallet,   in   your home,     in   a safe deposit box, and on hand when you               file   your petition
      I]   No
      I    Yes................................................................................................................




                                                                                                                                                      Cash on hand                                                   $50.00



17.    Deposits of money
        Examples: Checking, savings, or other Hnancial accounts; certihcates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. lf you have multiple accounts with the same institution, list each.

      [I   No
      I                                                                                             Institution   name:



                                                     17_1_     Checking account                     Bank of America                        W   7   niwimr              WM      `prw           www|
Official    Form 106A/B                                                                    Schedule AlB: Property                                                                                                      page 3
Software Copyright (c) 1996-2018 Best Case,              LLC - www.beslcase.com                                                                                                                             Best Case Bankruptcy
                           Case 1-18-44427-cec                           Doc 15        Filed 10/10/18                    Entered 10/10/18 13:04:00

  Debtor                                                                                                                                  number lifknvwnl   1-18-44427-CGC



                                         17.2.        Savings account              Bank of America                                                                            $3,000.00




                                         17.3.        Checking account            TDjBank                                        gy   j     Q   Q
                                                                                                                                                                                  $50.00


                                                      Checking account;
                                         17.4.        joint with ex-wife           Bank of America                                                                                $10.00


18.    Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage tirms, money market accounts
      I No
      Q YES                                       Institution or issuer   name:

19. Non-publicly traded            stock and interests         in   incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
      I]    No
      I Yes.        Give specihc information about them...................
                                            Name of entity:                                                                     % of ownership:
                                            _SterIing Credit Counseling,              LLC                                             100%            %                            $0.00


20.    Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotlab/e instruments are those you cannot transfer to someone by signing or delivering them.
      I No
      [I Yes. Give specific information about them
                                            Issuer name:


21. Retirement or    pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b),                 thrift   savings accounts, or other pension or protit—sharing plans
      I No
      EI Yes. List each account separately.
                                        Type of account:                          Institution   name:

22. Security deposits      and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      I]    No
      I Yes._'''·_U                                                               Institution   name or individual:


                                        Security deposit                          Landlord                                                                                   $2,000.0Q_


23. Annuities (A contract for a periodic payment of                  money to   you, either for   life   or for a   number of years)
      I No
      Q     Yes____,,,__,___       Issuer   name and      description.


24. Interests in  an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      I No
      Q     yes_____________       Institution   name and description. Separately file the          records of any interests.11 U.S.C. § 521(c):


25. Trusts, equitable or future interests in property (other than anything listed in line 1),                             and   rights or       powers exercisable for your benefit
      I No
      III   Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets,    and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      I No
      El Yes. Give specific information about them...
Ofticial     Form 106A/B                                                    Schedule A/B: Property                                                                                 page 4
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                            Case 1-18-44427-cec                                Doc 15              Filed 10/10/18                    Entered 10/10/18 13:04:00

 Debtor        1       Brian   Cohen                                                                                                    Case number (ifknown)             1-18.44427-cgc            id?‘___



27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      I No
      I:]   Yes. Give specific information about them...


Money or property owed to you?                                                                                                                                              Current value of the
                                                                                                                                                                             portion you   own?
                                                                                                                                                                             Do   not deduct secured
                                                                                                                                                                            claims or exemptions.


28.    Tax refunds owed to you
      I No
      III   Yes. Give specific information about them, including whether you already filed the returns and the tax                                    years.......




29. Family    support
        Examples: Past due or lump               sum     alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      I No
      I] Yes. Give specific information......



30.    Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,                                             Social Security
                  benefits; unpaid loans you made to someone else

      I No
      El Yes. Give specific information..


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      III    No
      I Yes. Name the insurance company of each policy and                             list its   value.
                                                 Company name:                                                               Beneficiary:                                     Surrender or refund
                                                                                                                                                                             value:


                                                 Universal Life Insurance Policy with                                        Lori    Peskin-Cohen
                                                 Principal; death benefits $2,000,000.00                                     (Ex-wire)                                                   $17,164-67



32.    Any interest in property that is due you from someone who has died
         you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        lf

        someone has died.
      I No
      [I Yes. Give specific information..


33.    Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
      I No
      I] Yes. Describe each             claim.........



34.    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      I No
      EI Yes. Describe each             claim.........



35.    Any financial assets you               did not already          list

      I No
      [I Yes. Give specific information..                          .




 36.        Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached                                                                $22 324 67·
                                                                                                                                                                                           ·
            for Part 4. Write that number here.....................................................................................................................   1




                   Describe Any Business-Related Property You                 Own or Have an      lnterestln.
                                                                                                                Liitiany
                                                                                                                           real
                                                                                                                                  estate inrPartJL"Wr                                                  rrrr   H




Official      Form 106A/B                                                            Schedule A/B: Property                                                                                         page 5

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                            Case 1-18-44427-cec                                 Doc 15                 Filed 10/10/18                        Entered 10/10/18 13:04:00

  Debtbr                                                                                                                                           Case number lifkncwn} _,ji§i»_g,7;<&g,,,
            1
                     ,§_l'l_3il'1QQ*ll€il]5   _____,___M________                       V__»__   __|,_____|_|__A,1_|_            A                                                               ,,   g   g   _           ,



 37.    Do you own or have any            legal   or equitable interest in any business—reIated property?
       - No. G0 to Part      6.


    El Yes. Goto line 38.




             Describe Any Farm- and Commercial Fishing-Related Property You                                 Own or Have an          lnterest ln.
             Ifyouown or have an interest in farmland, list it in Part 1.


46.     Do you own or have any                legal or equitable interest in                    any farm- or commercial fishing-related property?
         I No. Goto Part7
         E Yes.      Goto    line   47.




                     Describe All Property You          Own or Have an Interest in                That You Did Not List Above


53.     Do you have other property of any kind you   did not already list?
         Examples: Season tickets, country club membership
       I No
       I] Yes. Give specific information.........

                                                                                                                                                                                 `




 54.     Add the dollar value of all               of your entries from Part               7.    Write that    number here            ....................................
                                                                                                                                                                                             $0_00
                                                                                                                                                                                                                     `




 Part 8:          List the Totals of       Each Part of this Form


 55.     Part   1:   Total real estate, line 2          ......................................................................................................................
                                                                                                                                                                                       $525,000,00
 56.     Part 2: Total vehicles, line 5                                                                                         $0_00
 57.     Part 3: Total personal and household items, line 15                                                            $4,50000
 58.     Part 4: Total financial assets, line 36                                                                       $2;,524,6;
 59.     Part 5: Total business-related property, line 45
                                                                                                            W,    W,
 60.     Part 8: Total farm- and fishing-related property, line 52
 61.     Part 7: Total other property not listed, line 54                                               +

 62.     Total personal property. Add lines 55 through 61...                                                           $26,82467                Copy personal property total              $26,824éL

 63.     Total of     all   property on Schedule A/B. Add                  line   55 +    line    62                                                                                 $551,82467
                                                                                                                                                                                                                 l




Ofhcial    Form 106A/B                                                                 Schedule A/B: Property                                                                                        page 6
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                           Case 1-18-44427-cec                             Doc 15              Filed 10/10/18                Entered 10/10/18 13:04:00

      Fill   in this information to identify your case:

 II

      Dabwil                   Brian   Cohen
                                                                                                                            7*-
                                                                      Middle   Name                   Last Name

 i    Debtor 2
                                                                                        ````                                `V
                                                                                                                                                     I




      United States Bankruptcy Court for the;                EASTERN DISTRICT OF NEW YORK

 ICaS€ iiumbai            1-18-44427-cec
 1(ir      known)
                                                                                                                                                             I   Check   if   this is   an
                                                                                                                                                                 amended Hling

 Official             Form 106C
 Schedule                     C:    The Property You Claim as Exempt                                                                                                                         me
 Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct information.
                                                                                                                                                    Using
 the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that
                                                                                                                 you claim as exempt. lf more space is
 needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of
                                                                                                                 any additional pages, write your name and
 case number (if known).

 For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One
                                                                                                                  way of doing so is to state a
 specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted
                                                                                                                           up to the amount of
 any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
 funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
 exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
 to the applicable statutory amount.


                                                                                                                                                                  ........
      1.    Which set of exemptions are you claiming? Check one only, even lfyour spouse is Nllng with you.

            I You are claiming state and federal nonbankruptcy exemptions.                      11 U.S.C.   § 522(b)(3)

            El You are claiming federal exemptions.              11   U.S.C. § 522(b)(2)

  2.        For any property you     list   on Schedule A/B that you claim as exempt, fill                  in   the information below.
            Brief description of the property and line      on          Current value of the      Amount of the exemption you claim                  Specific laws that allow exemption
            Schedule A/B that lists this property                       portion you   own
                                                                       Copy the value from        Check only one box       for each exemption.
                                                                        Schedule A/B

            20 Koenig Drive Oyster Bay,
            11771 Nassau County
            Line from Schedule A/B: 1.1
                                                       NY
                                                                      —|¥——    $525 00000         I
                                                                                                  U
                                                                                                    ————;|;                    $170,825-00

                                                                                                       100% of fair market value, up to
                                                                                                                                                     NYCPLR § 5206


                                                                                                       any applicable statutory limit


            Household goods and                                                                                                                      NYCPLR § 5205(a)(5)
            furnishings-bed, dresser & living
                                                                                 $1   50000       I                               $1,500.00

            room set                                                                              U    100% of fair market value, up to
            Line from Schedule A/ez 6.1                                                                any applicable Sialuiary limit


            Television   & computer                                                               I                                                  NYCPLR § 5205(a)(5)
            Line from Schedule A/B: 7.1                               —···—|     ~$50000
                                                                                   Maaate-                        **eee·
                                                                                                                                    $50000··     V



                                                                                                  E    100% of fair market value, up to
                                                                                                       any applicable statutory limit


           Wearing apparel and personal effects                                                                                                      NYCPLR § 5205(a)(5)
            Line from Schedule A/B: 11.1                              —;—-%—
                                                                         00000   $1               I   —-—··T-W-;                  $1,000.00

                                                                                                  ¤    100% of fair market value, up           to
                                                                                                       any applicable statutory limit

           Miscellaneous jewelry
           Line from Schedule A/B: 12.1                               *——|       $1   50000
                                                                                                 U
                                                                                                  I |-—-··-···———;——·
                                                                                                               $1,500-00 NYCPLR § 5205(a)(6)

                                                                                                       100% of fair market value, up to
                                                                                                       any applicable statutory limit




Ofhcial       Form 106C                                      Schedule C: The Property You Claim as Exempt                                                                          page      1   of 2
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                         Case 1-18-44427-cec                             Doc 15          Filed 10/10/18          Entered 10/10/18 13:04:00

   Debtor 1    gan Cohenm                                                                                       Case number (if known)     1-18.44427.cec
        Brief description of the property and line          on       Current value of the    Amount ofthe exemption you claim            Specific laws that allow exemption
        Schedule A/B that lists this property                        portion you   own
                                                                     Copy the   value from   Check only one box for each exemption.
                                                                     Schedule A/B

        Cash on hand                                                                                                                     Debtor & Creditor Law §
        Line from Schedule A/B: 16.1
                                                                                   $5000     I —-——»—————»——-
                                                                                                         $5000
                                                                                                                                         282(2)
                                                                                             D    100% of fair market value, up to


        Checking account: Bank of America
        Line from Schedule A/B: 17.1                                —|            $5000      I
                                                                                             D
                                                                                                  any applicable statutory limit



                                                                                               #——|———                     $5000
                                                                                                 100% of fair market value, up to
                                                                                                 any applicable statutory limit
                                                                                                                                         Debtor & Creditor Law §
                                                                                                                                         282(2)




       Savings account: Bank of America
       Line from Schedule A/B: 17.2                                 —|é;    $3,00000         I
                                                                                             D
                                                                                                                       $3,000-00

                                                                                                 100% of fair market value, up to
                                                                                                                                         Debtor & Creditor
                                                                                                                                         282(2)
                                                                                                                                                               Law §

                                                                                                 any applicable statutory limit

       Checking account: TD Bank                                                                                                         Debtor & Creditor
                                                                         $5000 I                                                                               Law §
       Line from Schedule A/B: 17.3                                 ·—+————~~                    —~————»—————
                                                                                                          $5000
                                                                                                                                         282(2)
                                                                               D                 100% of fair market value, up to
                                                                                                 any applicable statutory limit

       Checking account; joint with ex-wife:
       Bank of America
       Line from Schedule A/B: 17.4
                                                                   ———— D ————————
                                                                                 $10.00      I                            $10.00

                                                                                                 100% of fair market value, up to
                                                                                                                                         Debtor & Creditor
                                                                                                                                         282(2)
                                                                                                                                                               Law §


                                                                                                 any applicable statutory limit

       Security deposit: Landlord
       Line from Schedule A/B: 22.1                                +——|    $2,000.00         I
                                                                                             D
                                                                                                                      $2,000-00

                                                                                                 100% of fair market value, up
                                                                                                                                         NYCPLR §    5205(g)

                                                                                                                                  to
                                                                                                 any applicable statutory limit

      Universal Life Insurance Policy with
      Principal; death benefits
      $2,000,000.00
                                                                   ————   $17,10407          I »—|—-—ae—»-———·~
                                                                                             U
                                                                                                        $17,164.67 NYCPLR § 5205(i)
                                                                                                 100% of fair market value, up to
      Beneficiary: Lori Peskin-Cohen                                                             any applicable statutory limit
      (Ex-Wife)
      Line from Schedule A/B; 31.1



 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      E]      No
      I       Yes. Did you acquire the property covered by the exemption within 1,215 days before you Hled this case?

              |     No
              El    Yes




Official   Form 106C                                         Schedule C: The Property You Claim as Exempt                                                        page 2 of 2
Software Copyright (c) 1990-2018 Best Case, LLC   —   www.bestcase.com
                                                                                                                                                           Best Case Bankruptcy
          Case 1-18-44427-cec                         Doc 15     Filed 10/10/18        Entered 10/10/18 13:04:00




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 ------—--------------------------------..-----.......X

In re:

                                                                            Chapter 7
BRIAN COHEN
A/K/A BRIAN J. COHEN,
   I




                                                                            Case N0.: 1-18-44427-cec

                                      Debtor.


------------------------------------------------.----X



                                                       AFFIDAVIT OF SERVICE

STATE OF NEW YORK                             )

                                              ) ss.:
COUNTY OP NASSAU                              )


             Dawn Traina, being duly sworn, deposes and says:

             Deponent is not a party to the                 action, is over 18 years   of age and resides in Valley Stream,
New York.

     On October 10, 2018, deponent served a copy ofthe within Amended Schedule A/B and
Amended Schedule C by first class mail upon the parties listed on the annexed list at the addresses
listed, said addresses designated for that purpose, by depositing a true copy of same enclosed in a

post paid, property address wrapper, in an official depository under the exclusive care and custody
of the United States Postal Service within the State of New York.

             *                                          *
To:               See Attached Service List




                                                                       Q
                                                                   Dawn Traina

Sworn to me this             1%
day of October,              0




NO |ARY PUBLIC

                   GARY| FISCHOFF
           Notary Public, State of New York
                  No. 02F|4845533                 _

              0  nh ¤‘ N          C
       COm|'|’\ISl;?Of\e              U8T$ué1:¥
                       EX?;ifB;i1?:f:.]
                       Case 1-18-44427-cec         Doc 15            Filed 10/10/18      Entered 10/10/18 13:04:00

                                                    NYC Dept of Finance                              NYS Dept of Taxation
                                             A                                                                              &   Finance
                                                    345 Adams Street
                                                                                                     Bankruptcy Section
                                                    10th Fl, South Side                              P.O. Box 5300
                                                   Brooklyn, NY 11201-3739                          Albany, NY 12205-0300




  NYS Unemployment Insurance                       271-C Cadman Plaza East, Suite 1595
                                                                                                    Absolute Resolutions Investments LLC
  Attn: Insolvency Unit                  .
                                                   Brooklyn, NY 11201-1801                          Stoneleigh Recovery Associates
  Bldg. #12 Room 256
                                                                                                    P0 Box 1479
  Albany, NY 12201
                                                                                                    Lombard IL 60148-8479




  American Express                                 American Express Centurion Bank                  Arnold Peskin & Barbara Peskin
  PO Box 297814                                    4315 2 2700 West                                 23 Applegreen Drive
  Ft Lauderdale FL 33329-7814                      Salt Lake City UT 84184-0001                     Old Westbury NY 11568-1202




 Atala C                                          Atlas Management Realty Corp                      Bank of America
 PO Box 693                                       39-26 Bell Boulevard
                                                                                                   Mercantile Innovative Solutions
 Lawrence NY 11559-0693                           2nd Floor                                         165 Lawrence Bell Drive
                                                  Bayside NY 11361-2061                             Suite 100
                                     -

                                                                                                   Williamsville NY 14221-7900


 Bank of America                                  Bank of America Home Loans                       Best Egg/SST
 PO Box 15026                                     P0 Box 5170                                      4315 Pickett Road
 Wilmington DE 19850-5026                         Simi Valley CA 93062-5170                        Saint Joseph MO 64503-1600




 Busch Bros Cesspool Sewer & Drain                Busch Bros Cesspool Sewer & Drain                CW Nexus Credit Card
 C-Tech Collections Inc                           One Watkins Terrace                              101 Crossways Park Drive     W
 PO Box 402                                       Amityville NY 11701-1200                         Holdings I LLC
 Mount Sinai NY 11766-0402
                                                                                                   Woodbury NY 11797-2020




 Capital One                                      Capital One
                                 _
                                                                                                   Capital One
Bureaus Investment Group Portfolio No 15         PO Box 30281                                     Portfolio Recovery Associates
 650 Dundee Road                                 Salt Lake City UT 84130-0281                -
                                                                                                  PO Box 12914
Suite 370
                                                                                                  Bombay NY 12914
Northbrook IL 60062-2757



Capital One                                      Capital One Auto Finance                         Celtic Bank Corp
The Bureaus Inc                                  3901 Dallas Parkway                              268 S State Street
650 Dundee Road                                  Plano TX 75093-7864                              Suite 300
Suite 370
                                                                                                  Salt Lake City UT 84111-5314
Northbrook IL 60062-2757



Celtic Bank Corp                                 Chase
                                                                                                  Countrywide Home Loans
National Recovery Solutions LLC                  201        Central Avenue
                                                       N_                                         4500 Park Granada Boulevard
PO Box 322                                       Phoenix AZ 85004-8001                            Calabasas CA 91302-1613
Lockport NY 14095-0322       _




Credit One Bank                                  Cui Hong Liu                                     Deleware Secretary of State             .

PO Box 98873                                     287 Continental Drive
                                                                                         "



                                                                                                  W/K Incorporated Services
Las Vegas NV 89193-8873                          New Hyde Park NY 11040-1005                      3500 S Dupont Hwy
                                                                                                  Dover DE 19901-6041
                       Case 1-18-44427-cec    Doc 15         Filed 10/10/18        Entered 10/10/18 13:04:00

  Fido’s Fences                                First National Bank of Omaha                    First National Bank/CCS
   6500 Jericho Tpke LW                        PO box 3696                                     PO box 3696
  Syosset NY 11791-4489                        Omaha NE 68103-0696                            Omaha NE 68103-0696




  First Premier Bank                           First Premier Bank                             First Savings Credit Card/CCS
  601 S Minnesota Avenue                       PO Box 5519                                    PO Box 5019
  Sioux Falls SD 57104-4868                    Sioux Falls SD 57117-5519                      Sioux Falls SD 57117-5019




  Fischetti IV Landscaping Inc                 Fischetti Landscaping Inc                      Gold Coast Pools
  Carolyn Daley Scott Esq                      79 Hood Oak Drive
                                  1                                                           44 Sea Cliff Avenue
  PO Box 314                                   Westbury NY 11590-1031                         Glen Cove NY 11542-3627
  Port Jefferson Station NY 11776-0314




  (p)AMERICAN HONDA FINANCE                   J B Pool Service                                JAM Realty LP
 P O BOX 168088                               1270 Lois Lane                                 Gutman Mintz Baker    &   Sonnenfeldt PC
 IRVING TX 75016-8088                         Seaford NY 11783-1726                           813 Jericho Turnpike
                                                                                             New Hyde Park NY 11040-4609




 Jericho Water District                       Keyspan Long Island                            Law Offices of Steven Cohn PC
 125 Convent Road                             300 Erie Blvd W                                One Old Country Road
 Syosset NY 11791-3898                        Syracuse NY 13202-4201                         Suite 420
                                                                                             Carle Place NY 11514-1852




 Legacy Visa                                  Lvnv Funding LLC                               Lvnv Funding LLC
 RGS Financial Inc                            Alltran Financial LP                           PO Box 10584
 1700 Jay Ell Drive                           P0 Box 610                                     Greenville SC 29603-0584
 Suite 200                                    Sauk Rapids MN 56379-0610
 Richardson TX 75081-6788



MAB&T Milestone                              MERS Inc                                       Macys
216 W 2nd Street                             1818 Library Street                             9111 Duke Blvd
Dixon MO 65459-8048                          Suite 300                                      Mason OH 45040-8999
                                             Reston VA 20190-6280




Maidenbaum & Sternberg LLP                   Marc J Meltzer & Daniel G Kassan MD            Merrick Bank
                              ·
132 Spruce Street                            70 Glen Cove Road                              PO Box 9201
Cedarhurst NY 11516-1915                     Suite 306                                      Old Bethoage NY 11804-9001
                                             Roslyn Heights NY 11577-1731




Midland Funding LLC                          Mr Cooper                                      NYC Dept of Finance
2365 Northside Drive                         8950 Cypress Waters Boulevard                  Parking Violations
Suite 300                                    Dallas TX 75019-4620                           Church Street Station
San Diego CA 92108-2709
                                                                                            P0 Box 3600
                                                                                            New York NY 10008-3600


NYS Department of Taxation & Finance         NYU Langone Health                             NYU Langone Medical Center
507 Staples Street                           PO Box 415662                                  PO Box 415662
Farmingdale NY 11735-4108                    Boston MA 02241-5662                           Boston MA 02241-5662
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   NYU Langone Physician Services
                                                   NYU Winthrop Hospital
   C-Tech Collections Inc                                                                            NYU Winthrop University Hospital
                                                   PO Box 10546
                                                                                                     POM Recoveries
   PO Box 402
                                                   Uniondale NY 11555-0546
   Mount Sinai NY 11766-0402
                                                                                                     PO Box 602
                                                                                                     Lindenhurst NY 11757-0602



   Nasau Anesthesia Associates PC
                                                   Nassau Anesthesia Associates
   C—Tech Collections Inc                                                                           Nassau Anesthesia Associates PC
                                                   C-Tech Collections Inc
                                                                                                    C-Tech Collections Inc
   PO Box 402
                                                   PO Box 402
                                                                                                    P0 Box 402
   Mount Sinai NY 11766-0402
                                                   Mount Sinai NY 11766-0402
                                                                                                    Mount Sinai NY 11766-0402



   National Grid/Key Span Gas
                                                  Nationstar Mortgage
                                                                                                    Northshore Univ Hospital-Manhasset
   EOS CCA
                                                  PO Box 650783
   PO Box 981002                                                                                    Arstrat
                                                  Dallas TX 75265-0783
                                                                                                    9800 Centre Parkay
  Boston MA 02298-1002
                                                                                                    Suite 1100
                                                                                                    Houston TX 77036-8263


  Northwell Health
                                                  Office of the United States Trustee
                                                                                                   Orlin   &   Cohen Orthopedic Group
  Northshore University Hospital
                                                  Eastern District of NY (Brooklyn Office)
                                                                                                   Richard Sokoloff Esq
  PO Box 4318
                                                  U.S. Federal Office Building
                                                                                                   990 S Second Street Suite    1
  Manhasset NY 11030-4318
                                                  201 Varick Street, Suite 1006
                                                                                                   Ronkonkoma NY 11779-7258
                                                  New York, NY 10014-9449


  Perry B Herson MD
                                                  Perry B Berson MD
                                                                                                   Petro Inc
  105 Hillside Avenue
                                                  C-Tech Collections Inc
                                                                                                   520 Broadhollow Road
  Williston Park·NY 11596-2311
                                                 PO Box 402
                                                                                                   Suite 200W
                                                 Moimt Sinai NY 11766-0402
                                                                                                   Melville NY 11747-3603



 Petro Inc
                                                  (p)PORTFOLIO RECOVERY ASSOCIATES LLC
                                                                                                   ProHealth Ambulatory Surgery
 Fleck Fleck & Fleck Esqs                        PO BOX 41067
                                                                                                  PO Box 3475
 1205 Franklin Avenue
                                                 NORFOLK VA 23541-1067
                                                                                                  Toledo OH 43607-0475
 Suite 300
 Garden City NY 11530-1600



 ProHealth Care Amb Surg Ctr
                                                 Prollealth Care Associates LLP
                                                                                                  ProHealth Care Associates LLP
 NBCC
                                                 NBCC
                                                                                                  PO Box 3475
 150 White Plains Road
                                                 150 White Plains Road
                                                                                                  Toledo OH 43607-0475
 Suite 108
                                                 Suite 108
 Tarrytown NY 10591-5521
                                                Tarrytown NY 10591-5521


 Quadrino & Schwartz PC
                                                Quadrino & Schwartz, P.C.
                                                                                                  Rosenfeld & Maidenbaum LLP
 666 Old Country Road
                                                c/o Weltman & Moskowitz, LLP
                                                                                                  133 Spruce Street
9th Floor                                       270 Madison Avenue, Suite 1400
                                                                                                  Cedarhurst NY 11516-1916
Garden City NY 11530-2020                       New York, New York 10016-0601




Schwartz Law PC                                 Sports Physical Therapy & Rehab Serv
                                                                                                 Subaru Motors Finance
c/o Weltman   &   Moskowitz, LLP                of Northwell Health
                                                                                                 c/o Chase Auto Finance
270 Madison Avenue, Suite 1400
                                                1983 Marcus Avenue
                                                                                                 PO Box 901076
New York, New York 10016-0601                   Suite 119
                                                                                                 Fort Worth TX 76101-2076
                                                New Hyde Park NY 11042-1016


Syncb/Shop HQ/Evine Live
                                                Synchrony Bank                                   Tax Correction Agency Inc
PO Box 965037
                                            Midland Credit Management
                                                                                                 175 Deer Park Road
Orlando FL 32896-5037                       2365 Northside Drive
                                                                                                 Deer Park NY 11746-4928
                                            Suite 300
                                            San Diego CA 92108-2709
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  The Bank of Missouri/Milestone
                                                           U.S. Bank National Association
                                                                                                                 U.S. Bank National Association
 DNF Associates LLC              8
                                                           Buckley Madole PC                                ‘

                                                                                                                 as Trustee for MASTR Adjustable Rate
 2351 N Forsest Road                                                                                                                                  Mor
                                                           420 Lexington Avenue
 Suite 110                                                                                                       c/o McCalla Raymer et al
                                                          Suite 840
                                                                                                                 420 Lexington Avenue Suite 840
 Getzville NY 14068-9902
                                                          New York NY 10170-0840
                                                                                                                 New York NY 10170-0840

 US Bank National Association
                                                          Vertical Lend Inc
 800 Nicollet Mall
                                                                                                                Winthrop University Hospital
                                                          3 Huntington Quadrangle
 Minneapolis MN 55402-2511
                                                                                                                PO Box 9562
                                                          Melville NY 11747-4602
                                                                                                                Uniondale NY 11555-9562




                                                                                                                Lori Lapin Jones
                                                                                                                Lori Lapin Jones PLLC
                                                                                                                98 Cutter Mill Road
                                                                                                                Suite 201 North
                                                                                                                Great Neck, NY 11021-3010




                                            SV
                                                                                                      xti
                                                Nc
                                                                                                            a                                         ·




Honda Financial Services
                                                         Portfolio Recovery Associates LLC
American Honda Finance       .

                                                    i
                                                         140 Corporate Boulevard
600 Kelly Hay                                                                                                                                             _
                                                         Norfolk VA 23502
Holyoke MA 01040-9681




                                           5/li
                                                                                                      nle




                                           `A
                                                                                                        `

                                                        (d)NYS Unemployment Insurance
                                                ,       Attn: Insolvency Unit
                                                        Bldg. #12 Room 256
                                                        Albany, NY 12201




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